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                                                                         2                       IN THE UNITED STATES DISTRICT COURT

                                                                         3                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         4
                                                                                                                                       No. CR 05-00197 CW
                                                                         5    UNITED STATES OF AMERICA,
                                                                                                                                       ORDER ADOPTING
                                                                         6              Plaintiff,                                     MAGISTRATE JUDGE'S
                                                                                                                                       REPORT AND
                                                                         7        v.                                                   RECOMMENDATION RE
                                                                                                                                       GUILTY PLEA
                                                                         8    ROBERT D. HAZEN,
                                                                         9              Defendant.
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United States District Court
                               For the Northern District of California




                                                                         12        The Court has reviewed Magistrate Judge James Larson’s Report
                                                                         13   and Recommendation Re Entry of Plea of Guilty and adopts the
                                                                         14   Recommendation in every respect.        Accordingly,
                                                                         15        IT IS ORDERED that a plea of guilty is hereby entered as to
                                                                         16   Count 2 of the Indictment charging Defendant Robert D. Hazen with
                                                                         17   willfully aiding and assisting in the preparation of a false
                                                                         18   federal income tax return in violation of 26 U.S.C. § 7206(2).
                                                                         19   Sentencing is set for January 8, 2007, at 2:30 p.m.                 The Defendant
                                                                         20   shall report to the U.S. Probation Office for preparation of a
                                                                         21   Presentence Report.      The trial previously set for September 25,
                                                                         22   2006, is vacated.
                                                                         23
                                                                         24   Dated: 9/25/06
                                                                         25                                                   CLAUDIA WILKEN
                                                                                                                              United States District Judge
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                                                                         28   cc: JL; probation
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United States District Court
                               For the Northern District of California




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